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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

JOSHUA STALLWORTH,                          )
                                            )
       PLAINTIFF,                           )
                                            )               Case No.:
       V.                                   )
                                            )
TOPGOLF,                                    )     JURY TRIAL DEMANDED
                                            )
       DEFENDANT(S).                        )
                                            )


                                  COMPLAINT

JURISDICTION
             The plaintiff brings this action for injunctive relief and damages under

28 U.S.C. §§ 1331, 1343(4), 2201, 2202. The jurisdiction of this Court is invoked to

secure protection for and to redress the deprivation of rights caused by the

Defendant.

             This suit is authorized and instituted under Title VII of the Act of

Congress known as the “Civil Rights Act of 1964,” as amended, the “Civil Rights

Act of 1991;” 42 U.S.C. § 2000e, et seq. (Title VII).

             This suit is authorized and instituted under 42 U.S.C. § 1981. This is a

suit authorized and instituted under “Section 1981.”

             Plaintiff timely filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC) within 180 days of the last
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discriminatory act (Exhibit A). The plaintiff further sued within ninety (90) days

after receipt of the right-to-sue letter issued by the EEOC (Exhibit B).


PARTIES
             Plaintiff, Joshua Stallworth, (“Plaintiff” or “Stallworth”) is a resident

of Madison County, Alabama, and performed work for the Defendant in the counties

composing the Northeastern Division of the Northern District of Alabama during the

events of this case. Thus, under 28 U.S.C. § 1391(b), venue for this action lies in

the Northeastern Division.

             Defendant Topgolf (“Defendant”) is a company registered and doing

business in the State of Alabama and has sufficient minimum contacts with the State

of Alabama. It is subject to service of process in Alabama.

             Defendant employed at least 4000 people during the current or

preceding calendar year.

             Topgolf generates 1.51 billion dollars in sales annually.


FACTS
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff began his employment with Defendant on or about October 1,

2017, as a Hospitality Manager.
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             Plaintiff is a person of African ancestry, colloquially referred to as

Black.

             All of Stallworth’s performance appraisals met or exceeded

expectations.

             At the time of his termination, Stallworth had no recent discipline.

             On or around August 27, 2020, Plaintiff tested positive for COVID-19

and had to take time off work.

             Plaintiff’s paid time off (PTO) was automatically used to cover the days

he was out of work due to COVID-19, per the instructions of his direct report,

Kristen Spiegel, Director of Operations.

             Spiegel had previously allowed Caroline Olson, a white Hospitality

Manager, to use unemployment instead of PTO when she took time off due to

COVID-19.

             On or around September 15, 2021, Plaintiff complained to Lori Succi,

the Operations Manager, that Spiegel was making him use paid time off for his

COVID leave, whereas Caroline Olson (white) was allowed to use unemployment.

             Succi told Plaintiff to speak with Spiegel, and Spiegel again stated that

Plaintiff would only be able to use his paid time off.

             Plaintiff then contacted the Home Office to find out why he was not

able to use unemployment.
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               The Home Office told Plaintiff that he could have used his

unemployment to cover his COVID-19 leave, but when Plaintiff sought the benefit,

the unemployment office denied it because his application was now outside the time

to file a claim.

               When Plaintiff complained to Succi that he was being treated

differently than his white co-worker, Succi told him that she realized that Spiegel

was treating him differently.

               Plaintiff then contacted his District Manager, Natalie Bickel and

explained that he felt Spiegel had discriminated against him on the basis of his race.

               On or about December 21, 2020, Bickel held a meeting with Plaintiff,

Spiegel, Succi, and Tyler Richardson, the Department Head.

               During the meeting, Stallworth reiterated that he felt there was bias.

               Bickel then told Plaintiff to not dwell on the past, let it go, and move

on.

               In or around early January 2021, Spiegel put in her two weeks’ notice.

               On January 18, 2021, a guest arrived at Defendant’s location

intoxicated.

               The Bay Host who served this guest was white.

               That host, who was being supervised by another hospitality manager,

overserved the guest.
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               When Stallworth noticed the guest was intoxicated, he radioed to other

team members to make sure that the rest of the party was able to depart safely.

               The intoxicated guest walked out of Defendant’s location.

               The guest did not drive.

               There is no rule or policy that requires managers to intervene when

guests are not attempting to drive.

               Moreover, the company encourages its employees to serve guests

alcohol liberally, serving alcohol with energy drink mixers1, pitchers of beer and

drinks and extra-large alcoholic beverages it calls “golfbags2” in take home mugs.3

               The company advises its customers that “Once in a bay our Bay Hosts

are happy to get all the eats and sips you want while you play.”4

               In fact, other people who are not black and who have not complained

of racial discrimination have allowed customers to be overserved and to leave but

have not been fired.




1 Mixing   alcohol with energy drinks has been linked to increased intoxication, excessive
drinking, and risk taking behavior. https://lcb.wa.gov/education/mix-dangerous-risks-energy-
drinks-and-alcohol last accessed December 5, 2021.
2
https://topgolf.com/assets/uploads/pdf/menus/Topgolf_Huntsville_Menu.pdf?venue=huntsville&
v=1638717005 last accessed December 5, 2021.
3 https://seekingalpha.com/article/2950446-topgolf-is-a-diamond-in-the-rough-for-callaway.
Last accessed December 5, 2021.
4 https://topgolf.com/us/faq/ Last accessed December 5, 2021.
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             That evening, Plaintiff sent an e-mail to management to inform them of

what had occurred.

             On January 21, 2021, Spiegel’s last day working for Defendant, she

terminated Plaintiff’s employment.

             Any reason given for Plaintiff’s termination is pretext for unlawful

discrimination on the basis of Plaintiff’s race and retaliation for Plaintiff engaging

in protected activity.


COUNT I: TITLE VII - RACE DISCHARGE
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff is a person of African ancestry, colloquially referred to as

Black.

             Plaintiff was qualified for his position.

             On or about January 21, 2020, terminated Plaintiff’s employment,

allegedly for allowing an overserved guest to leave.

             The company routinely overserves customers and allows them to leave

when they are not driving.

             Employees who are not of African ancestry, have overserved customers

and allowed them to leave on foot, but have not been terminated.
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             Plaintiff was treated differently than a similarly situated white

employee.

             Because of Defendant’s discriminatory decision made in whole or in

part because of his race, Plaintiff was terminated.

             Plaintiff’s race was a motivating factor in Defendant’s decision to

terminate Plaintiff’s employment.

             Defendant’s actions in terminating Plaintiff’s employment violated

Title VII.

             Because of Defendant’s violation of Title VII, Plaintiff has been

damaged, suffering loss of pay and benefits, and mental anguish

COUNT II: 42 U. S. C. § 1981 DISCHARGE
          Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff is a person of African ancestry, colloquially referred to as

Black.

             Plaintiff was qualified for his position.

             On or about January 21, 2020, terminated Plaintiff’s employment,

allegedly for allowing an overserved guest to leave.

             The company routinely overserves customers and allows them to leave

when they are not driving.
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             Employees who are not of African ancestry, have overserved customers

and allowed them to leave on foot, but have not been terminated.

             Because of Defendant’s discriminatory decision in violation of 42

U.S.C. § 1981, made in whole or in part because of his race, Plaintiff has been

damaged, suffering loss of pay, benefits, and mental anguish.

COUNT III: TITLE VII RETALIATION
         Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff was qualified for his position and able to perform the essential

functions of the job.

             On or about December 21, 2021, Plaintiff engaged in protected activity,

when he reported discrimination based on race.

             On or about January 21, 2020, terminated Plaintiff’s employment,

allegedly for allowing an overserved guest to leave on foot.

             The company routinely overserves customers and allows them to leave

when they are not driving.

             Employees who have not complained of racial discrimination, have

overserved customers and allowed them to leave, but have not been terminated.

             But for Plaintiff’s protected activity, Defendant would have retained

Plaintiff in his position as a Hospitality Manager.
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             Defendant violated Title VII by terminating Plaintiff for engaging in

protected activity.

             Because of Defendant’s violation of the Title VII, Plaintiff has been

damaged, suffering loss of pay, benefits, and mental anguish.

COUNT IV: 42 U. S. C. § 1981 RETALIATION
        Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff was qualified for his position and able to perform the essential

functions of the job.

             On or about December 21, 2020, Plaintiff engaged in protected activity,

when he reported discrimination based on race.

             On or about January 21, 2020, terminated Plaintiff’s employment,

allegedly for allowing an overserved guest to leave on foot.

             The company routinely overserves customers and allows them to leave

when they are not driving.

             Employees who have not complained of racial discrimination, have

overserved customers and allowed them to leave, but have not been terminated.

             Plaintiff’s protected activity was a motivating factor in Defendant’s

decision not to retained Plaintiff in his position as a Hospitality Manager.

             Defendant violated the 42 U. S. C. § 1981 by terminating Plaintiff in

whole or in part because he engaged in protected activity.
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              Because of Defendant’s violation of 42 U. S. C. § 1981, Plaintiff has

been damaged, suffering loss of pay, benefits, and mental anguish.

PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays for the following relief:

      A.      Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at

the Defendant’s request from continuing to violate the terms of Title VII of the Civil

Rights Act of 1964;

      B.      Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at

the Defendant’s request from continuing to violate the terms of Section 1981;

      C.      Enter an Order requiring the Defendant to make Plaintiff whole by

awarding reinstatement to the position he would have had, had he not been

terminated;

      D.      Award him back pay, with employment benefits, front pay, liquidated

damages; compensatory damages, special damages; punitive damages nominal

damages;

      E.      Attorneys’ fees and costs;

      F.      Plaintiff requests that the Court award Plaintiff equitable relief as

provided by law; and,
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       G.     Any different or additional relief as determined by the Court to which

Plaintiff is entitled.


                                                 Kira Fonteneau (FON007)

 OF COUNSEL:

  Barrett & Farahany
  2 North 20th Street, Suite 900
  Birmingham, Alabama 35204
  T: 205.564.9005 F: 205.564.9006

                  PLEASE SERVE DEFENDANT AS FOLLOWS
Topgolf USA Huntsville, LLC
c/o CT Corporation
2 North Jackson St, Suite 506
Montgomery, AL 36104
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             IN THE UNITED STATES DISTRICT COURT
                           FOR THE
                           DIVISION

JOSHUA STALLWORTH,

      PLAINTIFF,

VS.                                    CV NO.:

TOPGOLF,

      DEFENDANT.                       JURY TRIAL DEMANDED




                 EXHIBIT A
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             IN THE UNITED STATES DISTRICT COURT
                           FOR THE
                           DIVISION

JOSHUA STALLWORTH,

      PLAINTIFF,

VS.                                    CV NO.:

TOPGOLF,

      DEFENDANT.                       JURY TRIAL DEMANDED




                 EXHIBIT B
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EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Joshua J. Stallworth                                                              From:   Birmingham District Office
                                                                                                 Ridge Park Place
       Madison, AL 35757                                                                         1130 22nd Street South
                                                                                                 Birmingham, AL 35205


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                   Telephone No.

                                                RICHARD GROOMS,
420-2021-01112                                  Federal Investigator                                                  (205) 651-7048
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission


Enclosures(s)
                                                             BRADLEY A. ANDERSON,                                             (Date Issued)
                                                                District Director
cc:        Topgolf Entertainment Group                                       5 Points Law
           Becky Fine, Chief People Officer                                  Kira Fonteneau
           8750 N. Central Expressway                                        2151 Highland Ave. S.
           Ste. 1200                                                         Ste. 205
           Dallas, TX 75231                                                  Birmingham, AL 35205

                                                                                     ,
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Enclosure with EEOC
Form 161 (11/2020)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10  not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
